
Lott, Surrogate.
The will of Maria Hunter (who died in the month of October, 1886) gave a legacy of $5,000 to " The Church Charity Foundation of Long Island,” and an •application was made by her executors to have it determined whether said legacy is subject to taxation under chapter 483 of the Laws of 1885.
It appeared that “ The Church Charity Foundation •of Long Island ” is a corporation incorporated to establish and maintain one or more houses for such indigent aged persons and indigent orphan and half-orphan children .and other children left destitute, as it may receive under its •care, and to educate such children, and to establish and maintain one or more hospitals, dispensaries or other institutions for the shelter, support and relief of sick, infirm and indigent persons : that the property of said corporation has been and is being used for such purposes ; that said corporation is a charitable institution and is supported by voluntary gifts and the income from its property; that the real property on which its buildings are placed is not taxed; that dt is not a moneyed or stock corporation; that it carries on no business; that it has no capital stock; that it earns no dividends, declares no dividends and has never had any -stock or made any dividends.
Section 1 of chapter 483, Laws of 1885, expressly •excludes from taxation, under the provisions of that act legacies which shall be given to “ societies, corporations .and institutions now exempted by law from taxation.”
The only corporations which as corporations are specifically made liable to taxation under the laws of the State of New York, are moneyed or stock corporations, and the ■Church Charity Foundation is not such a corporation, an'd therefore is not specifically made liable to taxation under "any of the laws of this State prior to this act of 1885. But *26the language used by this act of 1885, excludes from taxation legacies to corporations “now exempted by law from taxation.” This language, I think, shows that the intention of the Legislature was to exclude from taxation under this act such corporations as by some specific provisions of law are exempted from taxation, or whose property by some specific provisions of law is exempted from taxation. The language “exempted by law from taxation” looks to some actual provision of the law not to the mere-absence of any provision, and it cannot be argued- that because the law' does not specifically tax a corporation, therefore that corporation is “ exempted by law from taxation.” Exempt is defined by Burrill to mean, “ to relieve from some requisition, etc., to which others are subject.”
There are no corporations which by specific provisions-of law. are “ exempted by law from taxation,” but the-property of certain corporations is by specific provisions of law “ exempted ” from taxation, and I am of the opinion, that the “ societies, corporations and institutions now exempted by law from taxation,” referred to in the first section of chapter 483 of the laws of 1885, are the societies,, corporations and institutions whose property is exempted by law from taxation.
Under the laws of this State all lauds and all personal estate within this State, whether owned by individuals or by corporations, is liable to taxation, subject to certain exemptions (sec. 1, title 1, chapter 13, Part 1, Rev. Stat.). The exemption specified in the laws, so far as they affect the Charity Church Foundation, are “ buildings for colleges; academies or other seminaries of learning, school-houses and the lots whereon they are situated, poor-houses, alms-houses,, houses of industry and the real and personal property used for such purposes belonging to or connected with the same ” (sec. 4, subdivisions 3 and 4, same title): all stocks. belonging to-charitable institutions (sec. 4, subdivision 6, same title): the personal estate of every incorporated company not made-*27liable to taxation on its capital- in the fourth title of chapter 13, part 1, Rev. Statutes.
As the fourth title of chapter 13, part 1, Rev. Stat., provides for the taxation of moneyed or stock corporations only, and as the Church Charity Foundation cannot be classed as such, it is clear that its personal estate is exempted by law from taxation. As the buildings owned by the Church Charity Foundation are used for the care, maintenance, education and support of aged indigent persons, and indigent orphan and half-orphan children, and other children left in a destitute and unprotected state and condition, such buildings may properly be classed as almshouses, or poor-houses, or school-houses, or houses of industry, all of which are exempted by law from taxation.
In the Hebrew Ben., etc. v. Mayor, etc. (11 Hun, 116), the court say at page 118, “ With the other buildings-owned by the society it was used for the custody, education and employment of dependent, destitute and friendless children, and it was maintained for the same general purpose as poor-houses and alms-houses, all of which are-declared to be exempt from taxation.” In that case the corporation was of a character similar in its purposes to the Church Charity Foundation. In the Association for the Benefit of Colored Orphans, etc. v. Mayor, etc. (38 Hun, 593), the corporation was organized to provide and maintain a place of refuge for colored orphans, where they shall be boarded, clothed and educated till fit to be bound out, and the court held that its building was a school-house, and therefore exempt.
As the real and personal property of the Church Charity Foundation is specifically exempted by lav/ from taxation, I am of the opinion that it is one of the corporations “now exempted by law from taxation ” referred tó in section 1 of chapter 483 of the Laws of 1885, and that the legacy of $5,000 given to said corporation by the will of Maria Hunter is not subject to taxation under said chapter 483 of the Laws of 1885.
